Case 1:20-cv-02658-CJN Document 15-15 Filed 09/23/20 Page 1 of 7




              EXHIBIT 9
9/23/2020              Case 1:20-cv-02658-CJN
                                        TikTok TeensDocument      15-15
                                                    Tank Trump Rally           Filed
                                                                     in Tulsa, They   09/23/20
                                                                                    Say              Page
                                                                                        - The New York Times 2 of 7


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TikTok Teens and K-Pop Stans Say They Sank
Trump Rally
Did a successful prank inﬂate attendance expectations for President Trumpʼs rally in Tulsa,
Okla.?




By Taylor Lorenz, Kellen Browning and Sheera Frenkel

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    President Trump taking the stage in Tulsa, Okla. on Saturday. Doug Mills/The New York Times




https://www.nytimes.com/2020/06/21/style/tiktok-trump-rally-tulsa.html                                                1/7
9/23/2020              Case 1:20-cv-02658-CJN
                                        TikTok TeensDocument      15-15
                                                    Tank Trump Rally           Filed
                                                                     in Tulsa, They   09/23/20
                                                                                    Say              Page
                                                                                        - The New York Times 3 of 7

President Trump’s campaign promised huge crowds at his rally in Tulsa, Okla., on Saturday,
but it failed to deliver. Hundreds of teenage TikTok users and K-pop fans say they’re at least
partially responsible.

Brad Parscale, the chairman of Mr. Trump’s re-election campaign, posted on Twitter on
Monday that the campaign had ﬁelded more than a million ticket requests, but reporters at
the event noted the attendance was lower than expected. The campaign also canceled
planned events outside the rally for an anticipated overﬂow crowd that did not materialize.

Tim Murtaugh, a spokesman for the Trump campaign, said protesters stopped supporters
from entering the rally, held at the BOK Center, which has a 19,000-seat capacity.

But reporters present said there were few protests. According to a spokesman for the Tulsa
Fire Department on Sunday, the ﬁre marshal counted 6,200 scanned tickets of attendees.
(That number would not include staff, media or those in box suites.)

TikTok users and fans of Korean pop music groups claimed to have registered potentially
hundreds of thousands of tickets for Mr. Trump’s campaign rally as a prank. After the Trump
campaign’s ofﬁcial account @TeamTrump posted a tweet asking supporters to register for
free tickets using their phones on June 11, K-pop fan accounts began sharing the information
with followers, encouraging them to register for the rally — and then not show.



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The trend quickly spread on TikTok, where videos with millions of views instructed viewers
to do the same, as CNN reported on Tuesday. “Oh no, I signed up for a Trump rally, and I
can’t go,” one woman joked, along with a fake cough, in a TikTok posted on June 15.

Thousands of other users posted similar tweets and videos to TikTok that racked up millions
of views. Representatives for TikTok did not immediately respond to requests for comment.



https://www.nytimes.com/2020/06/21/style/tiktok-trump-rally-tulsa.html                                                2/7
9/23/2020              Case 1:20-cv-02658-CJN
                                        TikTok TeensDocument      15-15
                                                    Tank Trump Rally           Filed
                                                                     in Tulsa, They   09/23/20
                                                                                    Say              Page
                                                                                        - The New York Times 4 of 7

“It spread mostly through Alt TikTok — we kept it on the quiet side where people do pranks
and a lot of activism,” said the YouTuber Elijah Daniel, 26, who participated in the social
media campaign. “K-pop Twitter and Alt TikTok have a good alliance where they spread
information amongst each other very quickly. They all know the algorithms and how they
can boost videos to get where they want.”

Many users deleted their posts after 24 to 48 hours in order to conceal their plan and keep it
from spreading into the mainstream internet. “The majority of people who made them
deleted them after the ﬁrst day because we didn’t want the Trump campaign to catch wind,”
Mr. Daniel said. “These kids are smart and they thought of everything.”

Twitter users on Saturday night were quick to declare the social media campaign’s victory.
“Actually you just got ROCKED by teens on TikTok,” Representative Alexandria Ocasio-
Cortez of New York tweeted in response to Mr. Parscale, who had tweeted that “radical
protestors” had “interfered” with attendance.

Steve Schmidt, a longtime Republican strategist, added, “The teens of America have struck
a savage blow against @realDonaldTrump.”

“Leftists and online trolls doing a victory lap, thinking they somehow impacted rally
attendance, don’t know what they’re talking about or how our rallies work,” Mr. Parscale
said in a statement on Sunday. “Registering for a rally means you’ve RSVPed with a
cellphone number and we constantly weed out bogus numbers, as we did with tens of
thousands at the Tulsa rally, in calculating our possible attendee pool.”

Mary Jo Laupp, a 51-year-old from Fort Dodge, Iowa, said she had been watching black
TikTok users express their frustration about Mr. Trump’s hosting his rally on Juneteenth,
the holiday on June 19. (The rally was later moved to June 20.) She “vented” her own anger
in a late-night TikTok video on June 11 — and provided a call to action.

“I recommend all of those of us that want to see this 19,000-seat auditorium barely ﬁlled or
completely empty go reserve tickets now, and leave him standing there alone on the stage,”
Ms. Laupp said in the video.

When she checked her phone the next morning, Ms. Laupp said, the video was starting to go
viral. It has more than 700,000 likes, she added, and more than two million views.




https://www.nytimes.com/2020/06/21/style/tiktok-trump-rally-tulsa.html                                                3/7
9/23/2020              Case 1:20-cv-02658-CJN
                                        TikTok TeensDocument      15-15
                                                    Tank Trump Rally           Filed
                                                                     in Tulsa, They   09/23/20
                                                                                    Say              Page
                                                                                        - The New York Times 5 of 7




    Many of the arena’s 19,000 seats remained empty as Mr. Trump spoke. Doug Mills/The New York Times



She said she believed that at least 17,000 tickets were accounted for based on comments she
received on her TikTok videos, but added that people reaching out to her said tens of
thousands more had been reserved.

Ms. Laupp said she was “overwhelmed” and “stunned” by the possibility that she and the
effort she helped inspire might have contributed to the low rally attendance.


         Election 2020 ›

         Live Updates ›

         4h ago           ʻNow Iʼm happyʼ: Trump, at a Pennsylvania rally, thanks Mitt Romney.
         4h ago           Trump issues an order meant to counter racial and gender ʻscapegoating.ʼ
         5h ago           In ﬁrst, Maine Supreme Court approves ranked-choice voting for the presidential
                          election.




https://www.nytimes.com/2020/06/21/style/tiktok-trump-rally-tulsa.html                                                4/7
9/23/2020              Case 1:20-cv-02658-CJN
                                        TikTok TeensDocument      15-15
                                                    Tank Trump Rally           Filed
                                                                     in Tulsa, They   09/23/20
                                                                                    Say              Page
                                                                                        - The New York Times 6 of 7

“There are teenagers in this country who participated in this little no-show protest, who
believe that they can have an impact in their country in the political system even though
they’re not old enough to vote right now,” she said.

The effort to deprive Mr. Trump of a large crowd spread from Twitter and TikTok across
multiple social media platforms, including Instagram and Snapchat.

Erin Hoffman, an 18-year-old from upstate New York, said she heard from a friend on
Instagram about the social media campaign. She then spread it herself via her Snapchat
story, and said friends who saw her post told her they were reserving tickets.

“Trump has been actively trying to disenfranchise millions of Americans in so many ways,
and to me, this was the protest I was able to perform,” said Ms. Hoffman, who reserved two
tickets herself and persuaded one of her parents to nab two more. “He doesn’t deserve the
platform he has been given.”

Ms. Laupp said that many of the people who shared her video added commentary
encouraging people to procure the tickets with fake names and phone numbers. In the
comment section under her own video, TikTok users exchanged advice on how to acquire a
Google Voice number or another internet-connected phone line.

“We all know the Trump campaign feeds on data, they are constantly mining these rallies
for data,” said Ms. Laupp, who worked on several rallies for Pete Buttigieg’s campaign for
the Democratic nomination for president. “Feeding them false data was a bonus. The data
they think they have, the data they are collecting from this rally, isn’t accurate.”

Campaign ofﬁcials on Sunday said that many people who had signed up were not
supporters, but online tricksters. One campaign adviser claimed that “troll data” was still
usable, claiming it would help the campaign avoid the same pitfall in the future. The adviser
said that the data could be put into the system to “tighten up the formula used to determine
projected attendance for rallies.”

Ms. Laupp added that several people who took part in her campaign complained that once
they signed up for the rally with their real phone numbers, they couldn’t get the Trump
campaign to stop texting them and sending them messages.

Mary Garcia, a 19-year-old student from California, said that she used a Google Voice
number to sign up for the rally, but that two of her friends who also signed up used their real
numbers and had been inundated with texts from the Trump campaign.




https://www.nytimes.com/2020/06/21/style/tiktok-trump-rally-tulsa.html                                                5/7
9/23/2020              Case 1:20-cv-02658-CJN
                                        TikTok TeensDocument      15-15
                                                    Tank Trump Rally           Filed
                                                                     in Tulsa, They   09/23/20
                                                                                    Say              Page
                                                                                        - The New York Times 7 of 7

Ms. Garcia said she decided to sign up on a whim after seeing Ms. Laupp’s video, but after
she saw the Trump campaign boasting about its record-setting ticket numbers she regretted
what she had done.

“I feel like it doesn’t even matter if the rally is full or not,” Ms. Garcia said. “They are going
to boast about a million tickets being registered, and then they’ll just lie or whatever about
how big the audience was.”

K-pop stans have been getting increasingly involved in American politics in recent months.
After the Trump campaign solicited messages for the president’s birthday on June 8, K-pop
stans submitted a stream of prank messages. And earlier in June, when the Dallas Police
Department asked citizens to submit videos of suspicious or illegal activity through a
dedicated app, K-pop Twitter claimed credit for crashing the app by uploading thousands of
“fancam” videos.

They also reclaimed the #WhiteLivesMatter hashtag in May, by spamming it with endless
K-pop videos, in hopes to make it harder for white supremacists and sympathizers to ﬁnd
one another and communicate their messaging.

Whether or not the prank to call in false tickets was the reason for the empty upper rafters
at Mr. Trump’s rally, teenagers online celebrated. On Twitter, several accounts tweeted,
“best senior prank ever.”

Annie Karni contributed reporting.




    Our 2020 Election Guide
    Updated Sept. 22, 2020



    The Latest
    President Trump will name his Supreme Court pick on Saturday, and he appears to have the G.O.P. votes he
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    Early voting for the presidential election starts in September in some states. Take a look at key dates where
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https://www.nytimes.com/2020/06/21/style/tiktok-trump-rally-tulsa.html                                                6/7
